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                                   EXHIBIT 10
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     September 27, 2020

     Mr. Erich Andersen
     Chief Legal Officer
     TikTok Inc.

     Cc:    John E. Hall
            Megan Keegan
     Globalmedia@bytedance.com
     ir@bytedance.com

     Attn: Please forward a copy of this letter to ByteDance LTD CEO Mr. Yiming Zhang.

     Dear Mr. Andersen,

     After TikTok Global Network’s (TGN) $33.3 billion dollar offer to acquire Tiktok U.S. assets from ByteDance LTD
     (BD), delivered by email at 2:06am est on September 14, 2020 , we were surprised to learn that BD later that day put
     out a statement agreeing to sell 100% of the non-China TikTok operations and assets.

     TGN seeks your urgent full consideration and that of TikTok Inc. owner BD to agree to effectuate the August 14, 2020
     E.O. by selecting one of the ready to be consummated Asset Purchase Agreements TGN is offering herein for either
     $33.3 billion dollar (U.S. assets less China) or $58.0 billion dollars (Global assets less China).
     Also included is a draft chronology of the CIFUS timeline related notice events establishing how BD can certainly claim
     to the Court and DOJ/CFIUS that by having entered into such agreement today BD has satisfied August 14 E.O.
     requirements and thus the August 6th E.O ban must not go into effect.(chronology is attached to this letter with Exhibit
     2 attaching both executable Asset Purchase Agreements and the side letter agreement. I will follow up with a proposed
     redacted version of each just in case you need to file something into the court as part of getting the Judge/DOJ on
     board with suspending or not granting the ban).

     The opportunity here for BD is to use the fortuitous timely executable agreement to possibly nip in the bud having the
     Judge rule on the facts, but certainly take the actions necessary during the day to work with the DOJ and CFIUS to stop
     the ban from going in effect at midnite thru gaining their recognition and acceptance of the fact BD has effective
     immediately on entering into one of the TGN Asset Purchase Agreements, done everything needed with the next
     deadline being providing a certification of divestment on November 12, 2020.

              1. Buyer & Agreement structure have already been reviewed by CFIUS without objections.1

              2. Offers are full definitive buyer executed agreements, becoming bona fide binding agreements subject only
                  to BD counter signing.
             3. Exclusive BD Termination right provides for extreme flexibility so that if and after China Export approval
                  is favorable to BD then they can immediately terminate and enter into a deal with one or more parties that
                  they prefer ( effectively a right of convenience termination further detailed in a side letter agreement).2

              4. By stopping the ban and filing a redacted copy of the agreement (not disclosing the buyer and other
                  specifics such as individual components of total purchase price), with the Court,
                  The net net headline becomes “ByteDance nixes ban signs definitive agreement to sell
                  TikTok Global for $58 billion dollars”
     While your excellent and talented Covington attorneys may like the facts in this matter and be very confident of their
     ability to be persuasive, you have to consider your fiduciary duty to the many many shareholders and also thousands of

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